Case 25-15229-JKS   Doc 30    Filed 05/29/25 Entered 05/29/25 23:32:52   Desc Main
                             Document      Page 1 of 22
Case 25-15229-JKS   Doc 30    Filed 05/29/25 Entered 05/29/25 23:32:52   Desc Main
                             Document      Page 2 of 22
Case 25-15229-JKS   Doc 30    Filed 05/29/25 Entered 05/29/25 23:32:52   Desc Main
                             Document      Page 3 of 22
Case 25-15229-JKS   Doc 30    Filed 05/29/25 Entered 05/29/25 23:32:52   Desc Main
                             Document      Page 4 of 22
Case 25-15229-JKS   Doc 30    Filed 05/29/25 Entered 05/29/25 23:32:52   Desc Main
                             Document      Page 5 of 22
Case 25-15229-JKS   Doc 30    Filed 05/29/25 Entered 05/29/25 23:32:52   Desc Main
                             Document      Page 6 of 22
Case 25-15229-JKS   Doc 30    Filed 05/29/25 Entered 05/29/25 23:32:52   Desc Main
                             Document      Page 7 of 22
Case 25-15229-JKS   Doc 30    Filed 05/29/25 Entered 05/29/25 23:32:52   Desc Main
                             Document      Page 8 of 22
Case 25-15229-JKS   Doc 30    Filed 05/29/25 Entered 05/29/25 23:32:52   Desc Main
                             Document      Page 9 of 22
Case 25-15229-JKS   Doc 30    Filed 05/29/25 Entered 05/29/25 23:32:52   Desc Main
                             Document     Page 10 of 22
Case 25-15229-JKS   Doc 30    Filed 05/29/25 Entered 05/29/25 23:32:52   Desc Main
                             Document     Page 11 of 22
Case 25-15229-JKS   Doc 30    Filed 05/29/25 Entered 05/29/25 23:32:52   Desc Main
                             Document     Page 12 of 22
Case 25-15229-JKS   Doc 30    Filed 05/29/25 Entered 05/29/25 23:32:52   Desc Main
                             Document     Page 13 of 22
Case 25-15229-JKS   Doc 30    Filed 05/29/25 Entered 05/29/25 23:32:52   Desc Main
                             Document     Page 14 of 22
Case 25-15229-JKS   Doc 30    Filed 05/29/25 Entered 05/29/25 23:32:52   Desc Main
                             Document     Page 15 of 22
Case 25-15229-JKS   Doc 30    Filed 05/29/25 Entered 05/29/25 23:32:52   Desc Main
                             Document     Page 16 of 22
Case 25-15229-JKS   Doc 30    Filed 05/29/25 Entered 05/29/25 23:32:52   Desc Main
                             Document     Page 17 of 22
Case 25-15229-JKS   Doc 30    Filed 05/29/25 Entered 05/29/25 23:32:52   Desc Main
                             Document     Page 18 of 22
Case 25-15229-JKS   Doc 30    Filed 05/29/25 Entered 05/29/25 23:32:52   Desc Main
                             Document     Page 19 of 22
Case 25-15229-JKS   Doc 30    Filed 05/29/25 Entered 05/29/25 23:32:52   Desc Main
                             Document     Page 20 of 22
Case 25-15229-JKS   Doc 30    Filed 05/29/25 Entered 05/29/25 23:32:52   Desc Main
                             Document     Page 21 of 22
Case 25-15229-JKS   Doc 30    Filed 05/29/25 Entered 05/29/25 23:32:52   Desc Main
                             Document     Page 22 of 22
